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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JU SUNG CHANG,                                  :
                                                :
                              Plaintiff,        :         CIVIL ACTION NO. 15-379
                                                :
       v.                                       :
                                                :
J. MITTON & ASSOCIATES, INC.,                   :
doing business as INTREPID                      :
INTERNATIONAL,                                  :
                                                :
                              Defendants.       :

                                             ORDER

       AND NOW, this 9th day of September, 2015, it having been reported that the parties have

settled the above-captioned action, and pursuant to Rule 41.1(b) of the Local Rules of Civil

Procedure of this Court, it is hereby ORDERED that this action is DISMISSED WITH

PREJUDICE, pursuant to agreement of counsel without costs.

       The Court shall retain jurisdiction for a period of ninety (90) days while the parties

finalize the written settlement agreement.

                                             BY THE COURT:




                                             By: /s/ Shana Restucci
                                               Shana Restucci, Civil Deputy Clerk
                                               The Honorable Edward G. Smith
                                               Shana_Restucci@paed.uscourts.gov
